         Case 5:17-cv-00840-HSP Document 19 Filed 11/22/17 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TAMER ABOURAS, et al,

         V.
ANN E. KIELINSKI, et al,

                                                  Civil Action No. 17-840 HSP


                                                ORDER


          AND NOW, TO WIT: This 22ND day of NOVEMBER , 2017, it having been
reported that the issues between the parties in the above action have been settled and upon Order
of the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of
this Court (effective January 1, 1970), it is

       ORDERED that the above action is DISMISSED with prejudice, pursuant to agreement
of counsel without costs. The Court intends to retain jurisdiction for ninety (90) days from now,
and any settlement agreement is approved and made a part of the record and this Order for
enforcement purposes only.




                                               KATE BARKMAN, Clerk of Court


                                              By: _/ss/ Carlene L. Kohut_________
                                                    Carlene L. Kohut,
                                                    Deputy Clerk
                                                   Judge Henry S. Perkin



Civ 2 (7/95)
41.1(b)
